                    Case 1:22-mj-00132-ZMF Document 1 Filed 06/08/22 Page 1 of 1



AO 91 (Rev. 11111) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                           District of Columbia
                  United States of America
                                                                     )
                                 v.
                                                                     )
                       Kevin M. Cronin
                                                                     )      Case No.
                       DOB:XXXXXX
                       Kevin M. Cronin II                            )
                       DOB: XXXXXX                                   )
                      Dylan Rhylei Cronin                            )
                       DOB:XXXXXX                                    )
                           Defendant(s)


                                                   CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      Januar   6 2021             in the county of                                    in the
                           in the District of       Columbia      , the defendant(s) violated:

             Code Section                                                      Offense Description

        18 U.S.C.    § 1361- Destruction of Government Property
        18 U.S.c.    § 1752(a)(I)- Entering and Remaining in a Restricted Building or Grounds
        18 U.S.c.    § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds
        18 U.S.c.    § 1752(a)(4)- Engaging in Physical Violence in a Restricted Building or Grounds
        40 U.S.C.    § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building
        40 U.S.C.    § 5104(e)(2)(F)- Act of Physical Violence in the Capitol Grounds or Buildings
        40 U.S.c.    § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building
          This criminal complaint is based on these facts:

   See attached      statement     of facts.




          f}( Continued on the attached sheet.




                                                                                          Ma                              ent
                                                                                                 Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone.                                                                                                 Zia M. Faruqui
                                                                                                              2022.06.08 18:56:30
Date:
                                                                                                              -04'00'
                                                                                                   Judge 's signature


City and state:                         Washington, D.C.
                                                                                                 Printed name and title
